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1
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2    Federal Public Defender
     District ofthArizona
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     Yuma, Arizona 85365
4
     Telephone: 928-314-1780
     Robert Bruce Stirling , II
5    Bar No. 006037
     Assistant Federal Public Defender
6    Attorney for Defendant
     Bruce_stirling@fd.org
7

8
                        IN THE UNITED STATES DISTRICT COURT
9
                                    DISTRICT OF ARIZONA
10

11
     United States of America,                         No. CR-23-00092-PHX-DLR
12                 Plaintiff,
                                                   MOTION TO CONTINUE TRIAL
13         vs.                                       and MOTION TO EXTEND
                                                   PRETRIAL MOTION DEADLINE
14   Roberto Lozano Partida, III,
                                                               (First Request)
15                 Defendant,
16

17
           Defendant, Roberto Lozano Partida, III, through undersigned counsel,
18

19
     respectfully requests that this Court extend the time for filing of pretrial motions for a

20   period of at least sixty (60) days from the current date of February 21, 2023. In
21
     addition, defendant requests that the Court continue the trial date for a period of at least
22

23   sixty (60) days from the current date of March 7, 2021.

24         Additional time is needed to review the discovery, investigate the case, engage
25
     in plea negotiations, prepare for trial, and render the effective assistance of counsel to
26

27   the defendant.

28         Mr. Partida also asks that any subpoenas previously issued and served in this
         Case 2:23-cr-00092-DLR Document 19 Filed 02/10/23 Page 2 of 2



     matter remain in effect, and that the party who served the subpoena should advise the
1
     witnesses of the new trial date.
2
           Defense counsel contacted Assistant United States Attorney, Gayle L. Helart,
3

4    regarding this requested continuance and she does not object to this motion.
5
           Excludable delay under 18 U.S.C. §3161(h)(7)(B)(i) and (iv) may result from
6
     this motion or from an order based thereon.
7
           RESPECTFULLY SUBMITTED this 10th February 2023.
8

9                                          JON M. SANDS
                                           Federal Public Defender
10

11                                         s/Robert Bruce Stirling, II
12
                                           ROBERT BRUCE STIRLING, II
                                           Asst. Federal Public Defender
13

14
     Copy of the foregoing transmitted
15   by ECF for filing February 10, 2023, to:
16
     CLERK’S OFFICE
17   United States District Court
18
     Gayle Le Helart
19   Assistant United States Attorney
20
     Copy Mailed to:
21

22
     Defendant

23   L. Aguilera
     L. Aguilera
24

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